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1    HEATHER E. WILLIAMS, #122664
     Federal Defender
2    MICHAEL PETRIK, Jr., #177913
     Assistant Federal Defender
3    801 I Street, 3rd Floor
     Sacramento, CA 95814
4    Telephone: (916) 498-5700
5    Attorneys for Defendant
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7
8                                       UNITED STATES DISTRICT COURT
9                                      EASTERN DISTRICT OF CALIFORNIA
10   UNITED STATES OF AMERICA,                      )   Case No. 2:14-cr-109-TLN
                                                    )
11                              Plaintiff,          )   STIPULATION AND ORDER TO CONTINUE
                                                    )   STATUS CONFERENCE TO AUGUST 14,
12           v.                                     )   2014, AT 9:30 A.M.
                                                    )
13   PANG SHOUA XIONG,                              )   Date: June 19, 2014
     KEO SENG SAECHAO,                              )   Time: 9:30 a.m.
14                                                  )   Judge: Hon. Troy L. Nunley
                                Defendants.         )
15                                                  )
16             The parties stipulate, through respective counsel, that the Court should continue the status
17   conference set for June 19, 2014, at 9:30 a.m., to August 14, 2014, at 9:30 a.m.
18             Defense counsel require the continuance to consult with their clients about discovery, and
19   to conduct investigation. Defense counsel also require further time to meet and consult with
20   each other.
21             Counsel and the defendants agree that the Court should exclude the time from the date of
22   this order through August 14, 2014, when it computes the time within which trial must
23   commence under the Speedy Trial Act, pursuant to 18 U.S.C. § 3161(h)(7), and Local Code T4.
24   ///
25   ///
26   ///
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      Stipulation to Continue                           -1-                                    2:14-cr-109 TLN
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1              Counsel and the defendants also agree that the ends of justice served by the Court
2    granting this continuance outweigh the best interests of the public and the defendants in a speedy

3    trial.

4    DATED: June 17, 2014                           HEATHER E. WILLIAMS
                                                    Federal Defender
5
                                                    /s/ M.Petrik__________
6                                                   MICHAEL PETRIK, Jr.
7                                                   Assistant Federal Defender
                                                    Attorneys for Pang Shoua Xiong
8
     DATED: June 17, 2014
9
                                                    /s/ M.Petrik for_______
10
                                                    DUSTIN JOHNSON
11                                                  Attorney for Keo Seng Saechao

12   DATED: June 17, 2014                           BENJAMIN B. WAGNER
                                                    United States Attorney
13
                                                    /s/ M.Petrik for_______
14
                                                    MATTHEW MORRIS
15                                                  Assistant U.S. Attorney

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      Stipulation to Continue                         -2-                                    2:14-cr-109 TLN
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1                                                 ORDER
2              The Court, having received, read, and considered the stipulation of the parties, and good
3    cause appearing, adopts the stipulation in its entirety as its order. The Court specifically finds
4    that the failure to grant a continuance in this case would deny defense counsel reasonable time
5    necessary for effective preparation, taking into account the exercise of due diligence. The Court
6    finds that the ends of justice served by granting the continuance outweigh the best interests of the
7    public and defendants in a speedy trial.
8              The Court orders the status conference rescheduled for August 14, 2014, at 9:30 a.m.
9    The Court orders the time from the date of the this order, up to and including August 14, 2014,
10   excluded from computation of time within which the trial of this case must commence under the
11   Speedy Trial Act, pursuant to 18 U.S.C. § 3161(h)(7), and Local Code T4.
12   Dated: June 19, 2014
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                                                  Troy L. Nunley
16                                                United States District Judge

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      Stipulation to Continue                          -3-                                    2:14-cr-109 TLN
